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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA


 PATRICIA EBERHART, on behalf of                     §
 herself and others similarly-situated,              §
                                                     §
                          Plaintiff,                 §
                                                     §
 v.                                                  §          Civil Action No. CIV-21-254-D
                                                                                 __________
                                                     §
 CHANGE-N-EFFECT PIZZA LLC                           §
 d/b/a DOMINO’S PIZZA, CHANGE-N-                     §
 EFFECT II PIZZA LLC, and JOHN                       §          Jury Demanded
 MEKLER, individually,                               §
                                                     §
                          Defendants.                §
                                                     §

                                       ORIGINAL COMPLAINT

      Plaintiff Patricia Eberhart (“Plaintiff”), individually and on behalf of all other similarly situated

delivery drivers, brings this Complaint against Defendants Change-N-Effect Pizza LLC d/b/a

Domino’s Pizza, Change-N-Effect II Pizza LLC and John Mekler, and alleges as follows:

      1.   Defendants operate several Domino’s Pizza franchise stores. Defendants employ delivery

drivers who use their own automobiles to deliver pizza and other food items to their customers.

However, instead of reimbursing delivery drivers for the reasonably approximate costs of the

business use of their vehicles, Defendants use a flawed method to determine reimbursement rates that

provides such an unreasonably low rate beneath any reasonable approximation of the expenses they

incur that the drivers’ unreimbursed expenses cause their wages to fall below the federal minimum

wage during some or all workweeks (nominal wages – unreimbursed vehicle costs = subminimum

net wages).

      2.   Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq. to recover unpaid minimum wages and overtime hours owed to


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herself and similarly situated delivery drivers employed by Defendants at their Domino’s stores.

                                        Jurisdiction and Venue

    3.    The FLSA authorizes court actions by private parties to recover damages for violation of its

wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29 U.S.C. § 216(b)

and 28 U.S.C. § 1331 (federal question).

    4.    Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides in this

District, Defendants employed Plaintiff in this District, Defendants operate Domino’s franchise

stores in this District, and a substantial part of the events giving rise to the claim herein occurred in

this District.

                                                  Parties

    5.    Defendant Change-N-Effect Pizza LLC d/b/a Domino’s Pizza is authorized to conduct

business and is conducting business in the State of Oklahoma with its main corporate headquarters

located at 6 NW Millcreek Road Lawton, OK 73505. Defendant Change-N-Effect Pizza may be

served via its registered agent Allen R. Stokes at 6 NW Millcreek Road, Lawton, OK 73505, or

wherever he may be found.

    6.    Defendant Change-N-Effect II Pizza LLC d/b/a Domino’s Pizza is authorized to conduct

business and is conducting business in the State of Oklahoma with its main corporate headquarters

located at 6 NW Millcreek Road Lawton, OK 73505. Defendant Change-N-Effect II Pizza may be

served via its registered agent Allen R. Stokes at 6 NW Millcreek Road, Lawton, OK 73505, or

wherever he may be found.

    7.    Defendant John Mekler is individually liable because, during the relevant times, he was an

owner of substantial interests in defendant, served as officer of the entity, and held managerial

responsibilities and substantial control over terms and conditions of drivers’ work as they held the

power to hire and fire, supervised and controlled work schedules and/or conditions of employment,

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determined rates and methods of pay and/or expense reimbursements, and maintained employment

records and/or held control over employment records. Defendant Mekler may be served at 6 NW

Millcreek Road, Lawton, OK 73505, or wherever he may be found.

   8.    Plaintiff was employed by Defendants from approximately June 2019 to April 2020 as a

delivery driver at Defendants’ Domino’s store located 201 N Commerce St Ste A, Ardmore, OK

73401, which is located within this District.

   9.    Plaintiff’s consent to pursue this claim under the FLSA is attached to this Original

Complaint as “Exhibit 1.”

                                          General Allegations

                                         Defendants’ Business

   10. Defendants own and operate several Domino’s franchise stores, including stores within this

District and this Division.

   11. Defendants’ Domino’s stores employ delivery drivers who all have the same primary job

duty: to deliver pizzas and other food items to customers’ homes or workplaces.

                      Defendants’ Flawed Automobile Reimbursement Policy

   12. Defendants require their delivery drivers to maintain and pay for safe, legally-operable and

insured automobiles when delivering pizza and other food items.

   13. Defendants’ delivery drivers incur costs for gasoline, vehicle parts and fluids, repair and

maintenance services, insurance, depreciation, and other expenses (collectively “automobile

expenses”) while delivering pizza and other food items for the primary benefit of Defendants.

   14. Defendants’ delivery driver reimbursement policy reimburses drivers on a per-delivery

basis, but the per-delivery reimbursement equates to rates substantially below the IRS business

mileage reimbursement rate or any other reasonable approximation of the cost to own and operate a

motor vehicle. This policy applies to all of Defendants’ delivery drivers.


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   15. The result of Defendants’ delivery driver reimbursement policy is a reimbursement of much

less than a reasonable approximation of their drivers’ automobile expenses. During the applicable

FLSA limitations period, the IRS standard business mileage reimbursement rate ranged between

$.545 and $.58 per mile. Likewise, reputable companies that study the cost of owning and operating

a motor vehicle and/or reasonable reimbursement rates, including the AAA, have determined that the

average cost of owning and operating a vehicle ranged between $.532 and $.571 per mile between

2016 and 2018 for drivers who drive a sedan 15,000 miles per year. These figures represent a

reasonable approximation of the average cost of owning and operating a vehicle for use in delivering

pizzas.

   16. The driving conditions associated with the pizza delivery business cause even more frequent

maintenance costs, higher costs due to repairs associated with driving, and more rapid depreciation

from driving as much as, and in the manner of, a delivery driver. Defendants’ delivery drivers further

experience lower gas mileage and higher repair costs than the average driver used to determine the

average cost of owning and operating a vehicle described above due to the nature of the delivery

business, including frequent starting and stopping of the engine, frequent braking, short routes as

opposed to highway driving, and driving under time pressures.

   17. Defendants’ reimbursement policy does not reimburse delivery drivers for even their

ongoing out-of-pocket expenses, much less other costs they incur to own and operate their vehicle,

and thus Defendants uniformly fail to reimburse their delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendants’ benefit.

   18. Defendants’ systematic failure to adequately reimburse automobile expenses constitutes a

“kickback” to Defendants such that the hourly wages they pay to Plaintiff and Defendants’ other

delivery drivers are not paid free and clear of all outstanding obligations to Defendants.

   19. Defendants fail to reasonably approximate the amount of their drivers’ automobile expenses


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to such an extent that their drivers’ net wages are diminished beneath the federal minimum wage

requirements.

   20. In sum, Defendants’ reimbursement policy and methodology fail to reflect the realities of

delivery drivers’ automobile expenses.

                       Defendants’ Failure to Reasonably Reimburse Automobile

                              Expenses Causes Minimum Wage Violations

   21. Regardless of the precise amount of the per-delivery reimbursement at any given point in

time, Defendants’ reimbursement formula has resulted in an unreasonable underestimation of

delivery drivers’ automobile expenses throughout the recovery period, causing systematic violations

of the federal minimum wage.

   22. Defendants paid Plaintiff $7.25 per hour while making deliveries, including a tip credit

applicable to the time she performed deliveries.

   23. The federal minimum wage has been $7.25 per hour since July 24, 2009.

   24. During the time Plaintiff worked for Defendants as a delivery driver, she was reimbursed

on a per delivery basis of as low as $.90 cents per delivery.

   25. Plaintiff’s typical round-trip delivery distance was approximately 10 miles.

   26. Thus, Defendants have reimbursed Plaintiff at a per mile rate as low as $.09 per mile ($.90

per delivery / 10 average miles = $.09 per mile).

   27. During Plaintiff’s employment, the IRS business mileage reimbursement rate has ranged

between $.545 and $.58 per mile, which reasonably approximates the automobile expenses incurred

delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. Using the lowest

IRS rate as a reasonable approximation of Plaintiff’s automobile expenses, every mile driven on the

job decreased Plaintiff’s net wages by approximately $.455 ($.545 - $.09).

   28. During Plaintiff’s employment with Defendants, Plaintiff regularly made 5 or more


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deliveries per hour worked.

   29. Thus, every hour on the job decreased Plaintiff’s net wages by approximately $4.50 ($.09

per mile x 10 miles x 5 deliveries per hour), resulting in a net hourly wage of $2.75, well below the

federal minimum wage of $7.25 per hour ($7.25 hourly pay rate - $4.50 per hour “kickback” to

Defendants = $2.75 net hourly wage).

   30. All of Defendants’ delivery drivers had similar experiences to those of Plaintiff as they were

subject to the same reimbursement policy, received similar reimbursements, incurred similar

automobile expenses, completed deliveries of similar distances and at similar frequencies, and were

paid at or near the federal minimum wage before deducting unreimbursed business expenses.

   31. Because Defendants paid their drivers a gross hourly wage at precisely, or at least very close

to, the federal minimum wage, and because the delivery drivers incurred unreimbursed automobile

expenses, the delivery drivers “kicked back” to Defendants an amount sufficient to cause minimum

wage violations.

   32. While the amount of Defendants’ actual reimbursements per delivery may vary over time,

Defendants are relying on the same flawed policy and methodology with respect to all delivery

drivers at all of their Domino’s stores. Thus, although reimbursement amounts may differ somewhat

by time or region, the amounts of under-reimbursements relative to automobile costs incurred are

relatively consistent between time and region.

   33. Defendants’ low reimbursement rates were a frequent complaint of Defendants’ delivery

drivers, which resulted in discussions with management, yet Defendants continued to reimburse at a

rate much less than any reasonable approximation of delivery drivers’ automobile expenses.

   34. The net effect of Defendants’ flawed reimbursement policy is that Defendants have willfully

failed to pay the federal minimum wage to their delivery drivers. Defendants thereby enjoys ill-

gained profits at the expense of their employees.


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                                   Collective Action Allegations

   35. Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of similarly

situated delivery drivers pursuant to 29 U.S.C. § 216(b).

   36. The FLSA claims may be pursued by those who opt-in to this case pursuant to 29 U.S.C. §

216(b).

   37. Plaintiff, individually and on behalf of other similarly situated employees, seeks relief on a

collective basis challenging Defendants’ practice of failing to pay employees federal minimum wage.

The number and identity of other plaintiffs yet to opt-in may be ascertained from Defendants’ records,

and potential class members may be notified of the pendency of this action via mail and electronic

means.

   38. Plaintiff and all of Defendants’ delivery drivers are similarly situated in that:

           a. They have worked as delivery drivers for Defendants delivering pizza and other food

               items to Defendants’ customers;

           b. They have delivered pizza and food items using automobiles not owned or maintained

               by Defendants;

           c. Defendants required them to maintain these automobiles in a safe, legally-operable,

               and insured condition;

           d. They incurred costs for automobile expenses while delivering pizzas and food items

               for the primary benefit of Defendants;

           e. They were subject to similar driving conditions, automobile expenses, delivery

               distances, and delivery frequencies;

           f. They were subject to the same pay policies and practices of Defendants;

           g. They were subject to the same delivery driver reimbursement policy that

               underestimates automobile expenses per mile, and thereby systematically deprived of


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               reasonably approximate reimbursements, resulting in wages below the federal

               minimum wage in some or all workweeks;

           h. They were reimbursed similar set amounts of automobile expenses per delivery; and,

           i. They were paid at or near the federal minimum wage before deducting unreimbursed

               business expenses.

                     Count I: Violation of the Fair Labor Standards Act of 1938

   39. Plaintiff reasserts and re-alleges the allegations set forth above.

   40. The FLSA regulates, among other things, the payment of minimum wage by employers

whose employees are engaged in interstate commerce, or engaged in the production of goods for

commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. §206(a).

   41. Defendants are subject to the FLSA’s minimum wage requirements because Change-N-

Effect Pizza LLC and Change-N-Effect II Pizza LLC d/b/a Domino’s Pizza are enterprises engaged

in interstate commerce, and their employees are engaged in commerce.

   42. At all relevant times herein, Plaintiff and all other similarly situated delivery drivers have

been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§ 201, et

seq.

   43. Section 13 of the FLSA, 29 U.S.C. § 213, exempts certain categories of employees from

federal minimum wage obligations. None of the FLSA exemptions apply to Plaintiff or other

similarly situated delivery drivers.

   44. Under Section 6 of the FLSA, 29 U.S.C. § 206, employees have been entitled to be

compensated at a rate of at least $7.25 per hour since July 24, 2009.

   45. As alleged herein, Defendants have reimbursed delivery drivers less than the reasonably

approximate amount of their automobile expenses to such an extent that it diminishes these


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employees’ wages beneath the federal minimum wage.

   46. Defendants knew or should have known that their pay and reimbursement policies, practices

and methodology result in failure to compensate delivery drivers at the federal minimum wage.

   47. Defendants, pursuant to their policy and practice, violated the FLSA by refusing and failing

to pay federal minimum wage to Plaintiff and other similarly situated employees.

   48. Plaintiff and all similarly situated delivery drivers are victims of a uniform and employer-

based compensation and reimbursement policy. This uniform policy, in violation of the FLSA, has

been applied, and continues to be applied, to all delivery driver employees in Defendants’ stores.

   49. Plaintiff and all similarly situated employees are entitled to damages equal to the minimum

wage minus actual wages received after deducting reasonably approximated automobile expenses

within three years from the date each Plaintiff joins this case, plus periods of equitable tolling,

because Defendants acted willfully and knew, or showed reckless disregard for, whether their

conduct was unlawful.

   50. Defendants have acted neither in good faith nor with reasonable grounds to believe that their

actions and omissions were not a violation of the FLSA, and as a result, Plaintiff and other similarly

situated employees are entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively, should the Court find

Defendants is not liable for liquidated damages, Plaintiff and all similarly situated employees are

entitled to an award of prejudgment interest at the applicable legal rate.

   51. As a result of the aforesaid willful violations of the FLSA’s minimum wage provisions,

minimum wage compensation has been unlawfully withheld by Defendants from Plaintiff and all

similarly situated employees. Accordingly, Defendants are liable under 29 U.S.C. § 216(b), together

with an additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys’ fees, and costs of this action.


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                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs and the Putative Plaintiffs collectively pray that this Honorable Court:

  1.   Issue an Order certifying this action as a collective action under the FLSA and designate the

above Plaintiff as representative of all those similarly situated under the FLSA collective action;

  2.   Award Plaintiff and the Putative Plaintiffs actual damages for unpaid wages and liquidated

damages equal in amount to the unpaid compensation found due to Plaintiff and the class as provided

by the FLSA, U.S.C. § 216(b);

  3.   Award Plaintiff and the Putative Plaintiffs pre- and post-judgment interest at the statutory rate

as provided by the FLSA, U.S.C. § 216(b);

  4.   Award Plaintiff and the Putative Plaintiffs attorneys’ fees, costs, and disbursements as

provided by the FLSA, 29 U.S.C. § 216(b); and

  5.   Award Plaintiff and the Putative Plaintiffs further legal and equitable relief as this Court

deems necessary, just, and proper.

                                       Demand for Jury Trial

   Plaintiff hereby requests a trial by jury of all issues triable by jury.



                                                       Respectfully submitted,

                                                       FORESTER HAYNIE PLLC

                                                       /s/ Meredith Black-Mathews
                                                       Meredith Black-Mathews
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                                                       ATTORNEY FOR PLAINTIFFS



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                                 CERTIFICATE OF SERVICE

        Service will be made on Defendants with summons to be issued by the clerk according to

the Federal Rules of Civil Procedure.

                                                  /s/ Meredith Black-Mathews
                                                  Meredith Black-Mathews




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